861 F.2d 729
    Unpublished DispositionNOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.In re Allan C. MORGAN.
    No. 88-1352.
    United States Court of Appeals, Federal Circuit.
    Sept. 27, 1988.
    
      Before FRIEDMAN, Circuit Judge, NICHOLS, Senior Circuit Judge, and MAYER, Circuit Judge.
      PER CURIAM.
    
    
      1
      The decision of the Board of Patent Appeals and Interferences, affirming the Examiner's rejection of all the claims in the appellant's application as obvious, is affirmed on the basis of the opinion of the Board.
    
    